            Case 1:21-cr-00246-ABJ Document 152 Filed 02/06/23 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )          CRIMINAL NO. 21-cr-246 (ABJ)
                                            )
                                            )
EDWARD BADALIAN                             )

                                        Notice of Filing
       Notice is hereby given that undersigned counsel will be out of the country from February

10th to February 20th, 2023 and unable to respond to any email or other correspondence.

Undersigned counsel is pro hac vice counsel in the above entitled case.



                                                    Respectfully submitted,




                                            By:       _____/s/_________
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                                                1
         Case 1:21-cr-00246-ABJ Document 152 Filed 02/06/23 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify on the 6th day of February, 2023, a copy of same was electronically filed

using the CM/ECF system and thus delivered to the parties of record pursuant to the rules of the

Clerk of Court.

                                       /s/ ____________
                                        Kira Anne West




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